










	



NUMBER 13-09-00225-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 






NICOLAS GARCIA,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.





On appeal from the 197th District Court 


of Cameron County, Texas.





MEMORANDUM OPINION


	

Before Justices Rodriguez, Garza, and Vela


Memorandum Opinion Per Curiam


	Appellant, Nicolas Garcia, attempts to appeal his conviction for driving while
intoxicated.  The trial court has certified that this "is a plea-bargain case, and the defendant
has NO right of appeal."  See Tex. R. App. P. 25.2(a)(2).

	On May 7, 2009, this Court notified appellant's counsel of the trial court's
certification and ordered counsel to: (1) review the record; (2) determine whether appellant
has a right to appeal; and (3) forward to this Court, by letter, counsel's findings as to
whether appellant has a right to appeal, or, alternatively, advise this Court as to the
existence of any amended certification.

	On June 12, 2009, counsel filed a letter brief with this Court.  Counsel's response
does not establish that the certification currently on file with this Court is incorrect or that
appellant otherwise has a right to appeal.  

	The Texas Rules of Appellate Procedure provide that an appeal must be dismissed
if the trial court's certification does not show that the defendant has the right of appeal. 
Tex. R. App. P. 25.2(d); see Tex. R. App. P. 37.1, 44.3, 44.4.  Accordingly, this appeal is
DISMISSED.  Any pending motions are denied as moot.


							PER CURIAM

Do not publish.  See Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered 

and filed this the 2nd day of July, 2009. 


